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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                          )
    In re:                                                )   Chapter 11
                                                          )
    FRANCHISE GROUP, INC., et al., 1                      )   Case No. 24-12480 (LSS)
                                                          )
                             Debtors.                     )   (Jointly Administered)
                                                          )
                                                          )   Re: Docket Nos. 500, 545, 546, 547, 549, 550, 551 & 584
                                                          )

                               NOTICE OF AMENDMENT TO
                         SCHEDULE G FOR CERTAIN OF THE DEBTORS

             PLEASE TAKE NOTICE OF THE FOLLOWING:

        Pursuant to rule 1009(a) of the Federal Rules of Bankruptcy Procedure, the
above-captioned debtors and debtors in possession (collectively, the “Debtors”), hereby provide
notice (this “Notice”) that Debtors (a) Buddy’s Franchising and Licensing LLC, (b) Betancourt
Sports Nutrition, LLC, (c) Vitamin Shoppe Florida, LLC, (d) Vitamin Shoppe Procurement
Services, LLC, (e) Vitamin Shoppe Mariner, LLC, (f) Vitamin Shoppe Industries LLC, and
(g) Vitamin Shoppe Global, LLC (collectively, the “Amending Debtors”) have amended Schedule
G of their respective Schedules of Assets and Liabilities (collectively, the “Schedules”), as set
forth below.


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      The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
      Virginia 23456.
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                                    ORIGINAL SCHEDULES

       On December 24, 2024, the Debtors each filed their Schedules and their Statements of
Financial Affairs [Docket Nos. 500–558] (collectively, the “Schedules and Statements”).

                                    AMENDED SCHEDULES

        After filing the Schedules, the Amending Debtors learned that certain executory contracts
and unexpired leases were inadvertently omitted from their respective Schedule G. Accordingly,
the Amending Debtors have amended Schedule G (the “Amended Schedule”) to include such
executory contracts and unexpired leases. The applicable Amending Debtors’ Amended Schedule
is attached hereto as Exhibit A.

       Except for the Amended Schedule and the amendment to the Schedules reflected in the
Notice of Amendment to Schedule A/B for Vitamin Shoppe Industries LLC [Docket No. 584], no
changes have been made to the Schedules and Statements since they were originally filed. The
Amended Schedule is hereby incorporated into, and comprise an integral part of, the Schedules
and Statements.

                                         GLOBAL NOTES

        The Amended Schedule remains subject in all respects to the Global Notes and Statement
of Limitations, Methodology, and Disclaimers Regarding the Debtors’ Schedules of Assets and
Liabilities and Statements of Financial Affairs filed with the Schedules and Statements.

                                  RESERVATION OF RIGHTS

        The Debtors reserve their rights to dispute, or to assert offsets or defenses against, any filed
claim or any claim listed or reflected in the Schedules as to the nature, amount, liability,
classification, or otherwise. The Debtors reserve all rights to further amend or supplement the
Amended Schedule and the Schedules and Statements. In addition, nothing contained in this
Notice shall preclude the Debtors from objecting to any claim, whether scheduled or filed, on any
and all grounds.

                           [Remainder of Page Intentionally Left Blank]




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Dated: April 28, 2025
Wilmington, Delaware

 /s/ Shella Borovinskaya
  YOUNG CONAWAY STARGATT &                    KIRKLAND & ELLIS LLP
  TAYLOR, LLP                                 KIRKLAND & ELLIS INTERNATIONAL LLP
  Edmon L. Morton (Del. No. 3856)             Joshua A. Sussberg, P.C. (admitted pro hac vice)
  Matthew B. Lunn (Del. No. 4119)             Nicole L. Greenblatt, P.C. (admitted pro hac vice)
  Allison S. Mielke (Del. No. 5934)           Derek I. Hunter (admitted pro hac vice)
  Shella Borovinskaya (Del. No. 6758)         601 Lexington Avenue
  Rodney Square                               New York, New York 10022
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                amielke@ycst.com              - and -
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                                              Mark McKane, P.C. (admitted pro hac vice)
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                                              San Francisco, California 94104
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                                              Email:        mark.mckane@kirkland.com

 Co-Counsel to the Debtors                    Co-Counsel to the Debtors
 and Debtors in Possession                    and Debtors in Possession




                                          3
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                      EXHIBIT A

                    Amended Schedule
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              IN THE UNITED STATES BANKRUPTCY
              COURT FOR DISTRICT OF DELAWARE


                                         §
In re:                                   §           Chapter 11
                                         §
FRANCHISE GROUP, INC., et al.            §           Case No. 24-12480 (LSS)
                                         §
Debtors                                  §
                                         §



                SCHEDULES OF ASSETS AND LIABILITIES FOR
                      Betancourt Sports Nutrition, LLC
                            CASE NO. 24-12507 (LSS)




                                    - Page 1 of 1
Betancourt Sports Nutrition, LLC                           Case 24-12480-LSS                Doc 1328          Filed 04/28/25          Page 6 of 10                               Case Number: 24-12507 (LSS)


 Fill in this information to identify the case and this filing:

 Debtor Name:                                  Betancourt Sports Nutrition, LLC

 United States Bankruptcy Court:                       District of Delaware

 Case Number (if known):                                 24-12507 (LSS)




Form 206G

Schedule G: Executory Contracts and Unexpired Leases
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

   Part 1:


1. Does the debtor have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
             Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

2. List all contracts and unexpired leases



 Nature of the Debtor's Interest                                  Expiration Date            Contract ID           Co-Debtor                      Name                                Address



2.1 PRIVATE LABEL MANUFACTURING AND SUPPLY                                                    129990350                           AGROPUR MSI, LLC                        2340 ENTERPRISE AVENUE
    AGREEMENT, DATED APRIL 5, 2016, BY AND                                                                                                                                LA CROSSE, WI 54603
    BETWEEN BETANCOURT SPORTS NUTRITION, LLC
    AND AGROPUR MSI, LLC
2.2 AGREEMENT & LICENSE TO USE CINSULIN®                                                      121800888                           BEIJING TANG-AN NUTRITION &             A-14-G, CHENGMING BUILDING, NO.
    TRADEMARK AND REFERENCE US PATENTS                                                                                            HEALTHCARE PRODUCTS CO.,                2 XIZHIMEN NAN STREET
    #6200569, #8304000, #8329232, DATED JULY 7, 2013,                                                                             LTD.                                    BEIJING, 100035
    BY AND BETWEEN BETANCOURT SPORTS
    NUTRITION, LLC AND BEIJING TANG-AN NUTRITION
    & HEALTHCARE PRODUCTS CO., LTD.
2.3 MOVIE PRODUCTION AGREEMENT BY AND                                                         121800909                           BETANCOURT SPORTS                       14620 NW 60TH AVENUE
    BETWEEN BETANCOURT SPORTS NUTRITION, LLC                                                                                      NUTRITION LLC                           BLDG A
    AND BETANCOURT SPORTS NUTRITION LLC                                                                                                                                   HIALEAH, FL 33014


                                                                                             Schedule G - Page 1 of 4
Betancourt Sports Nutrition, LLC              Case 24-12480-LSS    Doc 1328       Filed 04/28/25      Page 7 of 10                     Case Number: 24-12507 (LSS)


Schedule G: Executory Contracts and Unexpired Leases
   Part 1:


  Nature of the Debtor's Interest                Expiration Date   Contract ID         Co-Debtor               Name                         Address



2.4 THE VITAMIN SHOPPE PURCHASE AGREEMENT BY                       121800940                       BIO NUTRITION INC.          64 ALABAMA AVE
   AND BETWEEN BETANCOURT SPORTS NUTRITION,                                                                                    ISLAND PARK, NY 11558
   LLC AND BIO NUTRITION INC.
2.5 EUROPA SPORTS PRODUCTS LLC CORPORATE                           121802394                       EUROPA SPORTS PRODUCTS LLC 11401 GRANITE STREET
   ACCOUNT VENDOR AGREEMENT BY AND                                                                                             CHARLOTTE, NC 28273
   BETWEEN BETANCOURT SPORTS NUTRITION, LLC
   AND EUROPA SPORTS PRODUCTS LLC
2.6 DISTRIBUTION AGREEMENT, DATED MARCH 22,                        121803009                       GOLDEN PROTEIN              MAIN ROAD OF JEDDAH, ASAF
   2017, BY AND BETWEEN BETANCOURT SPORTS                                                                                      DISTRICT
   NUTRITION, LLC AND GOLDEN PROTEIN                                                                                           ASHAKREEN STREET
                                                                                                                               JEDDAH, MAKKAH 21442
2.7 SLENDESTA TRADEMARK LICENSE AGREEMENT BY                       121803914                       KEMIN INDUSTRIES, INC.      601 E. LOCUST., SUITE 203
   AND BETWEEN BETANCOURT SPORTS NUTRITION,                                                                                    DES MOINES, IA 50309
   LLC AND KEMIN INDUSTRIES, INC.
2.8 SLENDESTA® (AND DESIGN) TRADEMARK LICENSE                      121803915                       KEMIN INDUSTRIES, INC.      600 E. COURT AVE., SUITE A
   AGREEMENT WITH SLENDESTA TRADEMARK                                                                                          DES MOINES, IA 50309
   GRAPHIC STANDARDS, DATED JANUARY 19, 2015,
   BY AND BETWEEN BETANCOURT SPORTS
   NUTRITION, LLC AND KEMIN INDUSTRIES, INC.
2.9 THE VITAMIN SHOPPE PURCHASE AGREEMENT,                         121804329                       LIVEWIRE MC2, LLC           1747 DOUGLASS RD UNIT C
   DATED JULY 11, 2013, BY AND BETWEEN                                                                                         ANAHEIM, CA 92806
   BETANCOURT SPORTS NUTRITION, LLC AND
   LIVEWIRE MC2, LLC
2.10 CARNOSYN® BETA-ALANINE LICENSE                                121804917                       NATURAL ALTERNATIVES        PO BOX 149348
    AGREEMENT BY AND BETWEEN BETANCOURT                                                            INTERNATIONAL, INC.         AUSTIN, TX 78714
    SPORTS NUTRITION, LLC AND NATURAL
    ALTERNATIVES INTERNATIONAL, INC.
2.11 TRADEMARK LICENSE AGREEMENT, DATED                            121805215                       OMNIACTIVE HEALTH           CYBERTECH HOUSE, GROUND
    JANUARY 26, 2016, BY AND BETWEEN                                                               TECHNOLOGIES LTD            FLOOR, J B SAWANT MARG, WAGLE
                                                                                                                               INDUSTRIAL ESTATE


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Schedule G: Executory Contracts and Unexpired Leases
   Part 1:


  Nature of the Debtor's Interest                   Expiration Date   Contract ID         Co-Debtor                 Name                      Address



    BETANCOURT SPORTS NUTRITION, LLC AND                                                                                          THANE (WEST), MH 400604
    OMNIACTIVE HEALTH TECHNOLOGIES LTD
2.12 DISTRIBUTION AGREEMENT, DATED JUNE 9, 2017,                      121805846                       RAYMEX DISTRIBUTION, INC.   8206 KILLAM INDUSTRIAL BLVD
    BY AND BETWEEN BETANCOURT SPORTS                                                                                              LAREDO, TX 78045
    NUTRITION, LLC AND RAYMEX DISTRIBUTION, INC.
2.13 DISTRIBUTION AGREEMENT, DATED JULY 25, 2017,                     121806263                       SHARK FOOD SUPPLEMENTS      SHOP #12, MEZZANINE FLOOR,
    BY AND BETWEEN BETANCOURT SPORTS                                                                  TRADING LLC                 SABKHA STREET
    NUTRITION, LLC AND SHARK FOOD                                                                                                 AL OWAIS TOWER
    SUPPLEMENTS TRADING LLC                                                                                                       DEIRA, DUBAI, 28394
2.14 DISTRIBUTION AGREEMENT, DATED JULY 14, 2017,                     121806479                       SPORTS NUTRITION            10100 NW 116TH WAY SUITE #10
    BY AND BETWEEN BETANCOURT SPORTS                                                                  INTERNATIONAL               MEDLEY, FL 33178
    NUTRITION, LLC AND SPORTS NUTRITION
    INTERNATIONAL
2.15 SCHEDULE NO. 1 TO DISTRIBUTION AGREEMENT,                        121806480                       SPORTS NUTRITION            1401 BUCHANAN RD
    DATED JULY 18, 2017, BY AND BETWEEN                                                               INTERNATIONAL               EVANSVILLE, IN 47720
    BETANCOURT SPORTS NUTRITION, LLC AND
    SPORTS NUTRITION INTERNATIONAL
2.16 MOVIE PRODUCTION AGREEMENT, DATED                                121806546                       STEVEN DI SALVATORE         ADDRESS ON FILE
    NOVEMBER 13, 2016, BY AND BETWEEN
    BETANCOURT SPORTS NUTRITION, LLC AND
    STEVEN DI SALVATORE
2.17 BETANCOURT NUTRITION ATHLETE                                     121806649                       SWAN DE LA ROSA             ADDRESS ON FILE
    SPONSORSHIP BY AND BETWEEN VITAMIN
    SHOPPE INDUSTRIES LLC AND SWAN DE LA ROSA
2.18 SCHEDULE NO. 2 TO DISTRIBUTION AGREEMENT,                        121807273                       VITASALUD                   AVENIDA NUÑEZ DE CACERES ESQ.
    DATED JUNE 19, 2017, BY AND BETWEEN                                                                                           SARASOTA
    BETANCOURT SPORTS NUTRITION, LLC AND                                                                                          BELLA VISTA
    VITASALUD                                                                                                                     SANTO DOMINGO,




                                                                      Schedule G - Page 3 of 4
Betancourt Sports Nutrition, LLC    Case 24-12480-LSS    Doc 1328       Filed 04/28/25   Page 9 of 10   Case Number: 24-12507 (LSS)


Schedule G: Executory Contracts and Unexpired Leases
   Part 1:


  Nature of the Debtor's Interest      Expiration Date   Contract ID         Co-Debtor          Name        Address




Total number of contracts                                                                                                    18




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 Fill in this information to identify the case and this filing:

 Debtor Name:                          Betancourt Sports Nutrition, LLC

 United States Bankruptcy Court:                  DISTRICT OF DELAWARE

 Case Number (if known):                            24-12507 (LSS)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
declaration that is not included in the document, and any amendments of those documents. This form must
state the individual's position or relationship to the debtor, the identity of the document, and the date.
Bankruptcy Rules 1008 and 9011.

Warning -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571


Declaration and Signature


     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
     partnership; or another individual serving as a representative of the debtor in this case.

     I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
     correct:



         Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         Schedule H: Codebtors (Official Form (206H)
         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         Amended Schedule
         Other document that requires a declaration




     I declare under penalty of perjury that the foregoing is true and correct.


     Executed on: 4/28/2025




     Signature:      /s/ Eric Seeton                                       Eric Seeton, Chief Financial Officer
                                                                           Name and Title




                                                   Declaration and Signature - Page 1 of 1
